Case 1:21-cr-00392-RCL Document 507 Filed 07/18/24 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv. Case No. 1:21-CR-392-1-RCL

ALAN HOSTETTER,

Defendant.

ORDER DENYING MOTION FOR RELEASE FROM CUSTODY PENDING APPEAL

On January 6, 2021, defendant Alan Hostetter, equipped with a hatchet, joined a violent
mob which pushed through police lines, broke down barricades, and unlawfully entered the
United States Capitol. See generally Oral Verdict, ECF No. 275. Mr. Hostetter’s purpose was to
disrupt the certification of the results of the 2020 presidential election, which he believed to be
fraudulent. Id. Although he did not personally engage in any physical altercations, he
accompanied the vanguard of rioters who were violently fighting with the police and urged them
on by waving a flag and sounding a bullhorn that he brought with him. In social media posts and
messages to fellow rioters, Mr. Hostetter likened the events of January 6th to the beginning of a
revolution. Jd. at 9. He also recorded videos in which he called for the execution of various
public officials. Jd. at 8, 10. At both trial and sentencing, Mr. Hostettler exhibited no remorse
for his actions, and even after receiving the verdict, he continued to push his conspiracy theories
before the Court at sentencing. See Sent. Tr. 26-43, ECF No. 413.

On July 13, 2023, this Court found Alan Hostetter guilty on four counts related to his
participation in the events of January 6, 2021 at the United States Capitol. Oral Verdict 17. Two
counts pertained to entering, remaining, and engaging in disorderly conduct in a restricted area

with a deadly weapon (a hatchet). 18 U.S.C. §§ 1752(a)(1){(2). His other two convictions were
Case 1:21-cr-00392-RCL Document 507 Filed 07/18/24 Page 2 of 5

for conspiring to obstruct, and actually disrupting, an official proceeding—to wit, the
certification of the 2020 Electoral College results. 18 U.S.C. §§ 1512(c)(2), 1512(k).

On June 28, 2024, the Supreme Court held that “[t]o prove a violation of Section
1512(c)(2), the Government must establish that the defendant impaired the availability or
integrity for use in an official proceeding of records, documents, objects, or... other things used
in the proceeding, or attempted to do so.” Fischer v. United States, 603 U.S. __, 1448. Ct.
2176, 2190 (2024). Mr. Hostetter’s case is now pending appeal, and it is unknown as of now
whether Fischer’s now-controlling interpretation of § 1512 will affect his convictions under that
statute. Mr. Hostetter now moves this Court for release pending appeal, pursuant to 18 U.S.C. §
3143(b). See Mot. for Release from Custody Pending Appeal, ECF No. 502.

In order to succeed on a motion for release pending appeal, the movant bears the burden
to show “by clear and convincing evidence” that three conditions are satisfied: first, that he is
“not likely to flee or pose a danger to the safety of any other person or the community if
released,” 18 U.S.C. § 3143(b)(1)(A); second, that “the appeal is not for the purpose of delay,”
and third, that it “raises a substantial question of law or fact likely to result in—(1) reversal, (ii)
an order for a new trial, (iii) a sentence that does not include a term of imprisonment, or (iv) a
reduced sentence to a term of imprisonment less than the total of the time already served plus the
expected duration of the appeal process.” 18 U.S.C. § 3143(b)(1)(B); see also United States v.
Weyer, No. 22-cr-40-JEB, 2024 WL 809962, at *1 (D.D.C. Feb. 27, 2024) (“Defendant bears the
burden of satisfying both §3143(b)(1)(A) and 3 143(b)(1)(B).”) (first citing United States v.
Perholtz, 836 F.2d 554, 555-56 (D.C. Cir. 1987), then citing United States v. Libby, 498 F. Supp.
2d 1, 3 (D.D.C. 2007), then citing United States v. Bledsoe, No. 21-cr-204-BAH, 2024 WL

341159, at *3 (D.D.C. Jan. 30, 2024)).
Case 1:21-cr-00392-RCL Document 507 Filed 07/18/24 Page 3 of 5

Mr. Hostetter has not met his burden on this motion. Other courts in this district have
determined, even before Fischer was finally decided, that the case would “raise[] a substantial
question of law or fact” as to § 1512 convictions that arose from the events of January 6th. See,
e.g., United States v. Williams, No. 21-ct-377-BAH, 2024 WL 1253949, at *3 (D.D.C. Mar. 25,
2024); United States v. Sheppard, No. 21-cr-203-JDB, 2024 WL 127016, at *3 (D.D.C. Jan. 11,
2024); United States v. Seefried, 21-cr-287-TNM, 2024 WL 1299371, at *3 (D.D.C. Mar. 26,
2024). But in this case, the Court need not address the substantiality question, nor assess the
purpose of Mr. Hostetter’s appeal. That is because Mr. Hostetter has neither demonstrated by
clear and convincing evidence that he poses no danger to the community, nor that his pending
appeal, if successful, will reduce his sentence by so much as to warrant his release.

As already discussed, Mr. Hostetter has revealed his capacity for violence by bringing a
weapon into a restricted area, spurring on a violent mob, and calling for the execution of public
officials. Mr. Hostetter was impelled on January 6 by his ideological convictions, and by the
time of sentencing he had not abandoned the theories that motivated his illicit conduct. See
Sent’g Tr. 26-33, 39, 42 ECF No. 413 (stating that January 6th was “absolutely staged,” that
“the election was stolen,” and that he still “truly believe[d] this”). Indeed, Mr. Hostetter saw and
continues to see it as his affirmative duty to act as he did that day, which raises the substantial
tisk that he would be willing to replicate his behavior, particularly considering that the next
election is just a few months away. Jd. at 39 (“I’ll double down on what I did, why I was there,
and that it was my oath to the country that drove me there.”).

Mr. Hostetter points out, and the Court recognizes, that due to his compliance with his
pretrial release conditions, stable personal life, and lack of criminal history, the Court permitted

him to self-surrender, rather than ordering him into custody immediately after sentencing. Mot.
Case 1:21-cr-00392-RCL Document 507 Filed 07/18/24 Page 4of5

for Release from Custody Pending Appeal 5. However, the severity of Mr. Hostetter’s offenses,
viewed in light of his conduct during sentencing and coupled with the looming election,

persuade this Court that the present risk of releasing Mr. Hostetter is too grave. The fact that the
Court has afforded Mr. Hostetter lenient custodial conditions in the past does not preclude the
determination today that Mr. Hostetter represents a threat to the community if released. See, e. oy
Order Denying Motion for Release Pending Appeal, United States v. Pryer, D.C. Cir. No. 24-
3037, Doc. #2053066 (D.C. Cir. 2024) (denying a motion for release pending appeal which was
predicated on the Court having previously allowed the defendant to remain in the community and
self-surrender).

Moreover, even if Mr. Hostetter were not a risk to the community, he nevertheless bears
the burden to show that his appeal is likely to result in a reduced sentence shorter than the sum of
the time he has already served and the time that it will take for the D.C. Circuit to resolve his
appeal. He argues that, absent his § 1512 convictions, the Guidelines sentence for his remaining
offenses would be 6-12 months. But even if this is so, Mr. Hostetter too hastily presumes that
this Court would necessarily give a Guidelines sentence on remand. In crafting its original
sentence, the Court considered the Sentencing Guidelines, but also made its own assessment—as
it must, according to 18 U.S.C. § 3553(a)—of the factual, personal, and historical circumstances
surrounding Mr. Hostetter’s offense. While the Supreme Court’s decision in Fischer may
ultimately change the Guidelines recommendation for Mr. Hostetter, Fischer does not dictate the
Court’s application of the 18 U.S.C. § 3553(a) factors to Mr. Hostetter’s remaining convictions.
The Court may still consider Mr. Hostetter’s serious conduct on January 6th, 2021 in its entirety,
even if the court of appeals concludes that this conduct no longer constitutes a crime under 18

U.S.C. § 1512. To reduce his sentence from 135 months to 12 months would require this Court
Case 1:21-cr-00392-RCL Document 507 Filed 07/18/24 Page 5of5

to take a drastically different view of Mr. Hostetter’s conduct, and the Court is not persuaded that
the pending appeal in this case will have such an affect. Because Mr. Hostetter has not met his
burden to show not only what his hypothetical reduced Guidelines range would be, but also that
the Court should and would adhere to that range, his motion does not succeed.

Therefore, upon consideration of the Motion for Release from Custody Pending Appeal,

the response and reply thereto, and the entire record herein, it is hereby
ORDERED that the Motion is DENIED.

IT IS SO ORDERED.

Cgc. Later

Date: T-19- ty Royce C. Lamberth
United States District Judge

